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                            UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


  LOERENE NELSON,
                                                         COMPLAINT AND DEMAND
                                                         FOR JURY TRIAL
                         Plaintiff,
                                                         Civil Case No. 2:21-cv-1246


  v.

  PHILIPS RS NORTH AMERICA LLC; PHILIPS
  NORTH AMERICA LLC; and PHILIPS
  HOLDING USA, INC.,

                         Defendants.



                                       CIVIL COMPLAINT

       Plaintiff, Loerene Nelson, residing in the city of Charlotte in the State of North Carolina,

by and through Plaintiff’s attorneys, Weitz & Luxenberg, P.C., hereby submits the following

Complaint and Demand for Jury Trial against Defendants Philips RS North America LLC (“Philips

RS”), Philips North America LLC (“Philips NA”), and Philips Holding USA, Inc. (“Philips USA”)

(hereinafter, collectively referred to as “Philips” or “Defendants”) and alleges that at all relevant

times hereinafter mentioned:

                                      NATURE OF ACTION

       1.      Philips manufactures, markets, sells, and distributes a variety of products for sleep

and home respiratory care.

       2.      Philips manufactures, markets, imports, sells, and distributes a variety of

Continuous Positive Airway Pressure (CPAP) and BiLevel Positive Airway Pressure (BiPAP)

devices for patients with sleep apnea.
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       3.      Philips also manufactures, markets, imports, sells, and distributes a variety of

ventilator devices for patients with respiratory conditions.

       4.      On April 26, 2021, as part of its Quarterly Report for Q1 2021, under a section

entitled “Regulatory Update,” Philips disclosed for the first time that the sound abatement foam in

Philips’ CPAP, BiPAP, and mechanical ventilator devices posed serious health risks to their users.

       5.      On June 14, 2021, Philips issued a recall notification for many of its CPAP, BiPAP,

and mechanical ventilator devices.

       6.      In its recall notification, Philips advised of potential health risks related to the sound

abatement foam used in the affected devices.

       7.      Philips’ recall advised that patients using these affected devices of potential risks

from exposure to chemicals released from the sound abatement foam via degradation and/or off-

gassing.

       8.      Specifically, Philips’ recall notification stated that the risks related to exposure to

chemicals given off by the sound abatement foam could include headache, irritation, inflammation,

respiratory issues, and possible toxic and carcinogenic effects.

       9.      Upon information and belief, Plaintiff Loerene Nelson was prescribed the use of

and purchased one of Philips’ recalled devices, the DreamStation CPAP machine, to treat her sleep

apnea a number of years before 2018 from Carolina’s Hometown Respiratory located at 371

Concord Parkway North, Concord, North Carolina 28027.

       10.     Plaintiff used Philips’ DreamStation CPAP device (hereinafter, the “Device”), one

of Philips’ recalled devices, on a daily basis for a number of years.

       11.     In the fall of 2018, Plaintiff was diagnosed with lung cancer.




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        12.     As a direct and proximate result of Philips’ conduct, Plaintiff has suffered serious

and substantial life-altering injuries.

        13.     As a direct and proximate result of the subject device manufactured, marketed, sold,

and distributed by Philips, Plaintiff has suffered physical and emotional injuries, including lung

cancer and the invasive treatment of the cancer and the sequelae of the cancer and its treatment

including surgical intervention.

        14.     Defendants have long known that the polyester-based polyurethane (PE-PUR)

sound-abatement foam in Defendants’ CPAP, BiPAP, and mechanical ventilator devices has a

tendency to release toxic and carcinogenic microparticles that can be inhaled by users like Plaintiff,

causing serious injury or death.

        15.     As a result of the Device’s defects and Defendants’ tortious acts/omissions,

Plaintiff Loerene Nelson has developed a serious and life-threatening cancer and has endured

unnecessary pain and suffering.

        16.     Plaintiff Loerene Nelson has suffered from unnecessary pain, debilitation,

hospitalization, and the development of lung cancer because Defendants defectively designed the

Device and failed to adequately warn of the dangers of the Device.


                                             PARTIES

        17.     At all relevant times, Plaintiff Loerene Nelson is over the age of majority and is a

resident and citizen of Charlotte in the State of North Carolina. Plaintiff Loerene Nelson has been

injured due to a defective medical device manufactured by Defendants.

        18.     Defendant Philips RS North America LLC (“Philips RS”) is a Delaware corporation

with its principal place of business located at 6501 Living Place, Pittsburgh, Pennsylvania 15206.




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Philips RS was formerly operated under the business name Respironics, Inc. (“Respironics”).

Royal Philips acquired Respironics in 2008.

       19.     Defendant Philips North America LLC (“Philips NA”) is a Delaware corporation

with its principal place of business located at 222 Jacobs Street, Floor 3, Cambridge, Massachusetts

02141. Philips NA is a wholly-owned subsidiary of Koninklijke Philips (“Royal Philips”), a Dutch

corporation. Upon information and belief, Philips NA manages the operation of Royal Philips’

various lines of business, including Philips RS, in North America. The sole member of Philips NA

is Philips USA.

       20.     Defendant Philips Holding USA, Inc. (“Philips USA”) is a Delaware corporation

with its principal place of business located at 222 Jacobs Street, Floor 3, Cambridge, Massachusetts

02141. Philips USA is a holding company that is the sole member of Defendant Philips NA.


                        STATEMENT OF JURISDICTION & VENUE

       21.     This Court has subject matter jurisdiction over the parties pursuant to 28 U.S.C. §

1332(a) because plaintiff and defendants are citizens of different states and the amount in

controversy exceeds $75,000.00, exclusive of interest and costs.

       22.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and (c).

       23.     This Court has personal jurisdiction over Defendants because Defendants conduct

substantial business in this District, and the events giving rise to Plaintiffs’ claims arise out of and

relate to Defendants’ contacts with this District. Moreover, Defendant Philips RS has its principal

place of business in this District. Defendants Philips RS and Philips NA are controlled by their

parent company, Royal Philips. Defendants’ affiliations in this District are so continuous and

systematic as to render them at home in the forum State, the Commonwealth of Pennsylvania.




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                                  FACTUAL BACKGROUND

       24.     At all relevant times, Defendants manufactured, sold, and distributed a line of

CPAP and BiPAP devices as well as mechanical ventilator devices under its “Sleep & Respiratory

Care” portfolio. These devices are designed to assist individuals with a number of sleep, breathing,

and respiratory conditions, including sleep apnea.

       25.     Defendants sought and obtained clearance from the Food and Drug Administration

(“FDA”) to market the recalled devices, including the Device used by Plaintiff, under Section

510(k) of the Medical Device Amendment to the Food, Drug, and Cosmetics Act (“FDCA”).

Section 510(k) allows marketing of medical devices if the device is deemed substantially

equivalent to other legally marketed predicated devices. Obtaining clearance under 510(k) is

significantly less rigorous than through the pre-market approval (“PMA”) process, as no formal

review for safety or efficacy is performed and no clinical data is required.


                  A. Continuous Positive Airway Pressure (CPAP) Therapy

       26.     Continuous Positive Airway Pressure (“CPAP”) therapy is a common nonsurgical

treatment primarily used to treat sleep apnea. CPAP therapy typically involves the use of a nasal

or facemask device and a CPAP device, which helps individuals breathe by increasing the air

pressure in an individual’s throat.

       27.     Sleep apnea is a common sleep disorder affecting millions of Americans, including

Plaintiff, and characterized by repeated interruptions in breathing through an individual’s sleep

cycle. These interruptions, called “apneas,” are caused when the soft tissue in an individual’s

airway collapses. The airway collapse prevents oxygen from reaching the individual’s lungs which

can cause a buildup of carbon dioxide. If the individual’s brain senses the buildup of carbon

dioxide, it will briefly rouse the individual from sleep so that the individual’s airway can reopen.


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Often these interruptions are so brief that the individual will not remember. Despite the brevity of

the interruption, the sleep cycle disruption caused by sleep apnea can dramatically impact a

person’s lifestyle, including negative impacts to energy levels, mental performance, and long-term

health. CPAP therapy helps treat sleep apnea by forcing pressurized air through the individual’s

airway, preventing the individual’s airway from collapsing while breathing during sleep cycles,

which can help prevent interruptions in breathing.


                    B. Bi-Level Positive Airway Pressure (BiPAP) Therapy

       28.      Bi-Level Positive Airway Pressure (“BiPAP”) therapy is a common alternative to

CPAP therapy for treating sleep apnea. Similar to CPAP therapy, BiPAP therapy is nonsurgical

and involves the use of a nasal or facemask device to maintain air pressure in an individual’s

airway. BiPAP is distinguishable from CPAP therapy, however, in that BiPAP devices deliver two

alternating levels—inspiratory and expiratory—of pressurized air into a person’s airway, rather

than the single continuous level of pressurized air delivered by a CPAP device. The inspiratory

positive airway pressure assists a person as a breath is taken in. Conversely, the expiratory positive

airway pressure is applied to allow a person to comfortably breathe out. BiPAP devices deliver

one level of pressurized air (the inspiratory positive level) to assist as a person inhales, and another

level (the expiratory level) as a person exhales.


             C. Philips’ Sleep & Respiratory Care Devices Were Endangering Users

       29.      On April 26, 2021, as part of its Quarterly Report for Q1 2021, Philips disclosed

for the first time, under a section titled “Regulatory Update,” that device user reports had led to a

discovery that the type of PE-PUR “sound abatement” foam Philips used to minimize noise in

several CPAP, BiPAP, and mechanical ventilator devices posed health risks to its users.

Specifically, Philips disclosed that “the [PE-PUR] foam may degrade under certain circumstances,

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influenced by factors including the use of unapproved cleaning methods, such as ozone[], and

certain environmental conditions involving high humidity and temperature.”

       30.     Philips utilized polyester-based polyurethane (PE-PUR) sound abatement foam to

dampen device vibration and sound during routine operation.

       31.     On June 14, 2021, almost two months after Philips notified its stockholders, it

finally advised the medical community, medical equipment suppliers and some patients, by issuing

a recall notification of specific devices allegedly based upon extensive ongoing review following

the announcement on April 26, 2021.

       32.     In its recall notification, Philips identified examples of potential risks which include

exposure to chemicals emitted from the sound abatement foam material via degradation and/or

off-gassing.

       33.     Philips reported that, based on lab testing and evaluations, it may be possible that

these potential health risks could result in a wide range of potential patient impact, from transient

potential injuries, symptoms, and complications, as well as possibly serious injury, which can be

life-threatening or cause permanent impairment, or require medical intervention to preclude

permanent impairment.

       34.     According to Philips’ recall notice, the PE-PUR foam used in recalled devices such

as the Device used by Plaintiff puts users at risk of suffering from the following health harms:

“headache, irritation [skin, eye, and respiratory tract], inflammation, respiratory issues, and

possible toxic and carcinogenic effects.”

       35.     On June 14, 2021, Philips also issued a brief report titled “Clinical Information for

Physicians.” In that report, Philips disclosed that “[l]ab analysis of the degraded foam reveals the

presence of potentially harmful chemicals including:



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        -Toluene Diamine

        -Toluene Diisocyanate

        -Diethylene glycol.”

        36.     In its report titled “Clinical Information for Physicians,” Philips also disclosed that

lab testing performed by and for Philips had also identified the presence of Volatile Organic

Compounds (VOCs) which may be emitted from the sound abatement foam component of the

affected devices, stating “VOCs are emitted as gases from the foam included in the [affected

devices] and may have short- and long-term adverse health effects. Standard testing identified two

compounds of concern may be emitted from the foam that are outside of safety thresholds. The

compounds identified are the following:


        -Dimethyl Diazine

        -Phenol, 2,6-bis (1,1-dimethylethyl)-4-(1-methylpropyl)-

                                    D. Philips’ Recalled Devices

        37.     In total, Philips announced that “[b]etween 3 million and 4 million” devices are

targeted in the recall.

        38.     The list of devices recalled by Philips (the “Recalled Devices”) include:



                          Philips CPAP and BiPAP Devices Subject to Recall


 Device Name/Model                                    Type

 Philips E30 (Emergency Use Authorization)            Continuous Ventilator, Minimum Ventilatory
                                                      Support, Facility Use
 Philips DreamStation ASV                             Continuous Ventilator, Non-life Supporting
 Philips DreamStation ST, AVAPS                       Continuous Ventilator, Non-life Supporting
 Philips SystemOne ASV4                               Continuous Ventilator, Non-life Supporting
 Philips C Series ASV, S/T, AVAPS                     Continuous Ventilator, Non-life Supporting


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 Philips OmniLab Advanced Plus, In-Lab               Continuous Ventilator, Non-life Supporting
 Titration Device
 Philips SystemOne (Q Series)                        Non-continuous Ventilator
 Philips DreamStation, CPAP, Auto CPAP,              Non-continuous Ventilator
 BiPAP
 Philips DreamStation GO, CPAP, APAP                 Non-continuous Ventilator
 Philips Dorma 400, 500, CPAP                        Non-continuous Ventilator
 Philips REMStar SE Auto, CPAP                       Non-continuous Ventilator




 Philips Device Name/Model                           Type

 Philips Trilogy 100 Ventilator                      Continuous Ventilator
 Philips Trilogy 200 Ventilator                      Continuous Ventilator
 Philips Garbin Plus, Aeris, LifeVent                Continuous Ventilator
 Ventilator
 Phiips A-Series BiPAP Hybrid A30                    Continuous Ventilator, Minimum Ventilatory
                                                     Support, Facility Use
 Philips A-Series BiPAP V30 Auto Ventilator          Continuous Ventilator, Minimum Ventilatory
                                                     Support, Facility Use
 Philips A-Series BiPAP A40                          Continuous Ventilator, Non-life Supporting
 Philips A-Series BiPAP A30                          Continuous Ventilator, Non-life Supporting


       39.     Philips issued the following advice to patients using any of the recalled devices:

                  “For patients using BiLevel PAP and CPAP devices: Discontinue use of
                   affected units and consult with physicians to determine the benefits of
                   continuing therapy and potential risks.”

                  “For patients using life-sustaining mechanical ventilator devices: DO NOT
                   discontinue or alter prescribed therapy, without consulting physicians to
                   determine appropriate next steps.”
                          E. Philips Unreasonably Delayed the Recall

       40.     Defendants have not disclosed when they first received reports from users of its

Sleep & Respiratory Care devices “regarding the presence of black debris/particles within the

airpath circuit (extending from the device outlet, humidifier, tubing, and mask).” However, given

how long ago the first of the recalled devices came to market, it is likely that Defendant learned of



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these issues for a substantial period of time before the recall. Additionally, Philips released its

next-generation CPAP device, the DreamStation 2, which does not have the defective,

carcinogenic foam, on April 13, 2016 – not even two full weeks before Philips first publicly

disclosed in its Q1 2021 Quarterly Report a potential health issue with its CPAP devices, including

Plaintiff’s defective first-generation DreamStation device. Defendants first sought FDA clearance

for the DreamStation 2 in February 2020, and in all likelihood began developing it long before

then.

        41.    Thus, as a result of user reports and other testing performed by and on behalf of

Defendants, Defendants were aware of the degradation and off-gassing of the PE-PUR sound

abatement foam used in the recalled devices, including Plaintiff’s Device, yet continued to

manufacture, market, and sell the recalled devices with such cognizance for a significant period of

time. During this period, Defendants unreasonably and unjustly profited from the manufacture and

sale of the recalled devices and unreasonably put users of the recalled devices at risk of developing

adverse health effects, including cancer.

        42.    Plaintiff Loerene Nelson was prescribed and purchased a Philips DreamStation

CPAP device a number of years before 2018.


          PLAINTIFF LOERENE NELON’S DREAMSTATION CPAP DEVICE

        43.    Plaintiff Lorene Nelson brings this product liability personal injury action as a

recipient of defective medical devices, i.e., a CPAP device designed, manufactured and distributed

by Defendants.

        44.    A number of years before 2018, Plaintiff Loerene Nelson was prescribed and

purchased a Philips DreamStation CPAP device.




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          45.   Defendants, directly or through their subsidiaries or affiliates, designed,

manufactured, distributed and sold the Philips DreamStation CPAP device prescribed to and

purchased by Plaintiff Loerene Nelson a number of years before 2018.

          46.   Based upon the patient population that Defendants intended its Philips

DreamStation CPAP device to be used by, when Plaintiff Loerene Nelson used the Device, she

was an appropriate patient to use the Device.

          47.   At all times subsequent to the date of first use, Plaintiff Loerene Nelson used the

Device in a normal and expected manner.

          48.   Subsequent to Plaintiff’s normal use of the Device, Plaintiff suffered symptoms

including but not limited to increasing pain, discomfort, which resulted in the development of lung

cancer.

          49.   At the time the Device was purchased by Plaintiff Loerene Nelson, it was in the

same condition in all relevant respects as when it left Philips’ control.

          50.   Prior to Plaintiff Loerene Nelson’s purchase of the Device a number of years before

2018, Philips did not warn patients, including Plaintiff Loerene Nelson, physicians, its customers,

or its sales representative/distributors that the Device was known to emit toxic and/or carcinogenic

particles from its PE-PUR sound abatement foam via degradation and/or off-gassing, which could

then be directly inhaled by the user, causing severe injury or death.

          51.   Plaintiff’s use of the Device has subjected her to much greater risks of future harm

than she had before using the Device.

          52.   Had Plaintiff Loerene Nelson or Plaintiff’s physician known that the Device would

release carcinogenic particles causing Plaintiff’s development of lung cancer, then neither Plaintiff




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nor Plaintiff’s physician or medical supplier would have chosen the Device for treatment of

Plaintiff’s sleep apnea.

       53.     As a direct and proximate result of use of Philips’ DreamStation CPAP device,

Plaintiff Loerene Nelson has suffered significant harm, including but not limited to:


               (a)     the development of life-threatening lung cancer and its invasive treatment;

               (b)     past and future pain and anguish, both in mind and in body;

               (c)     permanent diminishment of her ability to participate in and enjoy the

                       affairs of life;

               (d)     medical bills associated with the treatment of lung cancer and recovery

               therefrom;

               (e)     future medical expenses;

               (f)     loss of enjoyment of life;

               (g)     disfigurement; and

               (h)     physical impairment.



             FEDERAL STATUTORY AND REGULATORY REQUIREMENTS

       54.     Pursuant to federal law, a medical device is deemed to be adulterated if, among

other things, it fails to meet established performance standards, or if the methods, facilities or

controls used for its manufacture, packing, storage or installation are not in conformity with federal

requirements. 21 U.S.C. § 351.

       55.     Pursuant to federal law, a device is deemed to be misbranded if, among other things,

its labeling is false or misleading in any particular, or if it is dangerous to health when used in the

manner prescribed, recommended or suggested in the labeling thereof. 21 U.S.C. § 352.


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       56.     Pursuant to federal law, manufacturers are required to comply with FDA regulation

of medical devices, including FDA requirements for records and reports, in order to prohibit

introduction of medical devices that are adulterated or misbranded, and to assure the safety and

effectiveness of medical devices. In particular, manufacturers must keep records and make reports

if any medical device may have caused or contributed to death or serious injury, or if the device

has malfunctioned in a manner likely to cause or contribute to death or serious injury. Federal law

also mandates that the FDA establish regulations requiring a manufacturer of a medical device to

report promptly to FDA any correction or removal of a device undertaken to reduce a risk to health

posed by the device, or to remedy a violation of federal law by which a device may present a risk

to health. 21 U.S.C. § 360(i).

       57.     Pursuant to federal law, the Secretary of Health and Human Services may prescribe

regulations requiring that the methods used in, and the facilities and controls used for, the

manufacture, pre-production design validation (including a process to assess the performance of a

device, but not including an evaluation of the safety or effectiveness of a device), packaging,

storage and installation of a device conform to current good manufacturing practice, as prescribed

in such regulations, to assure that the device will be safe and effective and otherwise in compliance

with federal law.

       58.     The regulations requiring conformance to good manufacturing practices are set

forth in 21 C.F.R. § 820, et seq. As explained in the Federal Register, because the Current Good

Manufacturing Practice (CGMP) regulations must apply to a variety of medical devices, the

regulations do not prescribe the details for how a manufacturer must produce a device. Rather, the

quality system regulations provide a framework of basic requirements for each manufacturer to

use in establishing a quality system appropriate to the devices designed and manufactured and the



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manufacturing processes employed. Manufacturers must adopt current and effective methods and

procedures for each device they design and manufacture to comply with and implement the basic

requirements set forth in the quality system regulations.

       59.     Pursuant to 21 C.F.R. § 820.1(c), the failure to comply with any applicable

provision in Part 820 renders a device adulterated under section 501(h) of the Federal Drug &

Cosmetic Act (“the Act”). 21 U.S.C. § 351.

       60.     Pursuant to 21 C.F.R. § 820.5, each manufacturer shall establish and maintain a

quality system that is appropriate for the specific medical device designed or manufactured.

“Quality system” means the organizational structure, responsibilities, procedures, processes and

resources for implementing quality management. 21 C.F.R. § 820.3(v).

       61.      Pursuant to 21 C.F.R. § 820.22, each manufacturer shall establish procedures for

quality audits and conduct such audits to assure that the quality system is in compliance with the

established quality system requirements and to determine the effectiveness of the quality system.

       62.     Pursuant to 21 C.F.R. § 820.30(a), each manufacturer shall establish and maintain

procedures to control the design of the device in order to ensure that specified design requirements

are met.

       63.     Pursuant to 21 C.F.R. § 820.30(d), each manufacturer shall establish and maintain

procedures for defining and documenting design output in terms that allow an adequate evaluation

of conformance to design input requirements.

       64.     Pursuant to 21 C.F.R. § 820.30(e), each manufacturer shall establish and maintain

procedures to ensure that formal documented reviews of the design results are planned and

conducted at appropriate stages of the device’s design development.




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       65.     Pursuant to 21 C.F.R. § 820.30(f), each manufacturer shall establish and maintain

procedures for verifying the device design to confirm that the device design output meets the

design input requirements.

       66.     Pursuant to 21 C.F.R. § 820.30(g), each manufacturer shall establish and maintain

procedures for validating the device design. Design validation shall be performed under defined

operating conditions on initial production units, lots or batches, or their equivalents. Design

validations shall ensure that devices conform to defined user needs and intended uses and shall

include testing of production units under actual or simulated use conditions.

       67.     Pursuant to 21 C.F.R. § 820.30(h), each manufacturer shall establish and maintain

procedures to ensure that the device design is correctly translated into production specifications.

       68.     Pursuant to 21 C.F.R. § 820.30(i), each manufacturer shall establish and maintain

procedures for the identification, documentation, validation or where appropriate verification,

review and approval of design changes before their implementation.

       69.     Pursuant to 21 C.F.R. § 820.70(a), each manufacturer shall develop, conduct,

control and monitor production processes to ensure that a device conforms to its specifications.

Where deviations from device specifications could occur as a result of the manufacturing process,

the manufacturer shall establish and maintain process control procedures that describe any process

controls necessary to ensure conformance to specifications. Such process controls shall include:


               (a)     documented instructions, standard operating procedures (SOPs) and

                       methods that define and control the manner of production;

               (b)     monitoring and control of process parameters and component and device

                       characteristics during production;

               (c)     compliance with specified reference standards or codes;


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                (d)    the approval of processes and process equipment; and

                (e)    criteria for workmanship which shall be expressed in documented standards

                       or by means of identified and approved representative samples.

       70.      Pursuant to 21 C.F.R. § 820.70(b), each manufacturer shall establish and maintain

procedures for changes to a specification, method, process or procedure.

       71.      Pursuant to 21 C.F.R. § 820.70(c), each manufacturer shall establish and maintain

procedures to adequately control environmental conditions that could reasonably be expected to

have an adverse effect on product quality, including periodic inspection of environmental control

system(s) to verify that the system, including necessary equipment, is adequate and functioning

properly.

       72.      Pursuant to 21 C.F.R. § 820.70(e), each manufacturer shall establish and maintain

procedures to prevent contamination of equipment or product by substances that could reasonably

be expected to have an adverse effect on produce quality.

       73.      Pursuant to 21 C.F.R. § 820.70(g), each manufacturer shall ensure that all

equipment used in the manufacturing process meets specified requirement and is appropriately

designed, constructed, placed and installed to facilitate maintenance, adjustment, cleaning and use.

       74.      Pursuant to 21 C.F.R. § 820.70(h), each manufacturer shall establish and maintain

procedures for the use and removal of manufacturing material which could reasonably be expected

to have an adverse effect on product quality to ensure that it is removed or limited to an amount

that does not adversely affect the device’s quality.

       75.      Pursuant to 21 C.F.R. § 820.70(i), when computers or automated data processing

systems are used as part of production or the quality system, the manufacturer shall validate

computer software for its intended use according to an established protocol.



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       76.     Pursuant to 21 C.F.R. § 820.72, each manufacturer shall ensure that all inspection,

measuring and test equipment, including mechanical, automated or electronic inspection and test

equipment, is suitable for its intended purposes and is capable of producing valid results. Each

manufacturer shall establish and maintain procedures to ensure that equipment is routinely

calibrated, inspected, checked and maintained.

       77.     Pursuant to 21 C.F.R. § 820.75(a), where the results of a process cannot be fully

verified by subsequent inspection and test, the process shall be validated with a high degree of

assurance and approved according to established procedures.          “Process validation” means

establishing by objective evidence that a process consistently produces a result or product meeting

its predetermined specifications. See 21 C.F.R. § 820.3(z)(1).

       78.     Pursuant to 21 C.F.R. § 820.75(b), each manufacturer shall establish and maintain

procedures for monitoring and control of process parameters for validated processes to ensure that

the specified requirements continue to be met. Each manufacturer shall ensure that validated

processes are performed by qualified individuals.

       79.     Pursuant to 21 C.F.R. § 820.90, each manufacturer shall establish and maintain

procedures to control product that does not conform to specified requirements.

       80.     Pursuant to 21 C.F.R. § 820.100, each manufacturer shall establish and maintain

procedures for implementing corrective and preventive action. The procedures shall include

requirements for:


               (a)    analyzing processes, work operations, concessions, quality audit reports,

                      quality records, service records, complaints, returned product, and other

                      sources of quality data to identify existing and potential causes of

                      nonconforming product or other quality problems;


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               (b)    investigating the cause of nonconformities relating to product, processes

                      and the quality system;

               (c)    identifying the action(s) needed to correct and prevent recurrence of

                      nonconforming product and other quality problems;

               (d)    verifying or validating the corrective and preventative action to ensure that

                      such action is effective and does not adversely affect the finished device;

               (e)    implementing and recording changes in methods and procedures needed to

                      correct and prevent identified quality problems;

               (f)    ensuring that information related to quality problems or nonconforming

                      product is disseminated to those directly responsible for assuring the quality

                      of such product or the prevention of such problems; and

               (g)    submitting relevant information on identified quality problems, as well as

                      corrective and preventative actions, for management review.

       81.      Upon information and belief, Defendants’ DreamStation CPAP device is

adulterated pursuant to 21 U.S.C. § 351 because, among other things, it failed to meet established

performance standards and/or the methods, facilities or controls used for its manufacture, packing,

storage or installation are not in conformity with federal requirements. See 21 U.S.C. § 351.

       82.     Upon information and belief, Defendants’ DreamStation CPAP device is

misbranded because, among other things, it is dangerous to health when used in the manner

prescribed, recommended or suggested in the labeling thereof. See 21 U.S.C. § 352.

       83.     Upon information and belief, Defendants’ DreamStation CPAP device is

adulterated pursuant to 21 U.S.C. § 351 because Philips failed to establish and maintain CGMP

for its DreamStation CPAP device in accordance with 21 C.F.R. § 820, et seq., as set forth above.



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       84.     Upon information and belief, Philips failed to establish and maintain CGMP with

respect to the quality audits, quality testing and process validation for the recalled devices,

including the Philips DreamStation CPAP device.

       85.     As a result of Philips’ failure to establish and maintain CGMP as set forth above,

Philips’ DreamStation CPAP device was defective, resulting in injuries to Plaintiff Loerene

Nelson.

       86.     If Philips had complied with the federal requirements regarding CGMP, Philips’

DreamStation CPAP device would have been manufactured and/or designed properly such that it

would not have resulted in injuries to Plaintiff Loerene Nelson.


                                     CAUSES OF ACTION

                                        COUNT I
                              STRICT PRODUCTS LIABILITY
                                  DEFECTIVE DESIGN
                                  N.C. Gen. Stat. § 99B-6


       87.     Plaintiff incorporates by reference, as if fully set forth herein, each and every

allegation set forth in the preceding paragraphs and further alleges as follows:

       88.     At all times herein mentioned, Defendants designed, researched, manufactured,

tested, advertised, promoted, marketed, sold, and/or distributed the Philips DreamStation CPAP

device as hereinabove described that was prescribed to and used by Plaintiff.

       89.     Defendants each had a duty to place into the stream of commerce, manufacture,

distribute, market, promote and sell the Philips DreamStation CPAP device so that it was neither

defective nor unreasonably dangerous when used for which it was designed, manufactured,

distributed, marketed and sold.




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       90.     At all times herein mentioned, the Philips DreamStation CPAP device was in an

unsafe, defective and inherently dangerous condition for users such us Plaintiff.

       91.     At all times of use of the Device by Plaintiff, the Device was being used for the

purposes and in a manner normally intended, namely for use as treatment for sleep apnea.

       92.     At the time the Devices left the possession of Defendants and the time the Philips

DreamStation CPAP devices entered the stream of commerce, they were in an unreasonably

dangerous or defective condition. These defects include, but are not limited to, the following:


               (a)    the Devices were not reasonably safe as intended to be used;

               (b)    the Devices had an inadequate design for the purpose of treatment of sleep

                      apnea, in that the sound abatement foam should not release toxic and

                      carcinogenic particles and should not have been placed in the device’s

                      airpath where such particles would then travel directly into patients’ lungs

                      and bodies;

               (c)    the Devices contained unreasonably dangerous design defects, including an

                      inherently defective design, i.e., placement of a sound abatement foam that

                      releases toxic and carcinogenic particles directly in the airpath of the

                      Device, from where such particles could easily travel to the user;

               (d)    the Devices’ defective design resulted in a CPAP device which had risks

                      that far exceeded the benefits of the medical device;

               (e)    the Devices were not appropriately or adequately tested before their

                      distribution; and

               (f)    the Devices have an unreasonably high propensity for the release of toxic

                      and carcinogenic particles under normal and expected use of the Devices.


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               (g)    the Devices have built-in settings for heat and humidity that are expected to

                      be utilized during normal use, and according to Philips such environmental

                      factors may exacerbate the release of toxic and carcinogenic particles from

                      the sound abatement foam in the Devices.

       93.     At all times herein mentioned, the Devices were expected to and did reach the usual

consumers, handlers, and persons coming into contact with said products without substantial

change in the condition in which it was designed, produced, manufactured, sold, distributed, and

marketed by Defendants.

       94.     The Philips DreamStation CPAP device’s unsafe, defective, and inherently

dangerous conditions were the cause of injury to Plaintiff.

       95.     The Devices failed to perform as safely as an ordinary consumer would expect

when used in an intended or reasonably foreseeable manner.

       96.     Plaintiff’s injuries resulted from use of the Device that was both intended and

reasonably foreseeable by Defendants.

       97.     At the time of Defendants’ initial design, manufacture, marketing and sale of the

Devices, a feasible, alternative safer design for the Devices was known and available to Philips.

       98.     At the time of and subsequent to Defendants’ initial design, manufacture, marketing

and sale of the Devices, including prior to the time of Plaintiff Loerene Nelson’s initial purchase

and use of the Device, Defendants had the ability to eliminate the unsafe character of the Devices

without impairing their usefulness, as by either using non-toxic, non-carcinogenic sound

abatement foam, or by simply placing the sound abatement foam anywhere else in the Device

besides the Device’s airpath, among other reasonable alternatives.




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       99.      Had Defendants properly and adequately tested the Devices, Defendants would

have discovered that the sound abatement foam had a high propensity for releasing toxic and

carcinogenic particles when used normally by patients.

       100.     The Philips DreamStation CPAP devices, manufactured and supplied by

Defendants, were, therefore, defective in design or formulation in that, when they left the hands of

Defendants, the foreseeable risk of harm from the product exceeded or outweighed the benefit or

utility of the Devices’ particular design or formulation, and/or it was unreasonably dangerous to

the user or consumer, and/or it failed to comply with federal requirements for these medical

devices.

       101.     The foreseeable risks associated with the design or formulation of the Philips

DreamStation CPAP devices include, but are not limited to, the fact that the design or formulation

of these devices are more dangerous than a reasonably prudent consumer would expect when used

in an intended or reasonably foreseeable manner, and/or it failed to comply with federal

requirements.

       102.     At all times herein mentioned, the Defendants knew, or should have known, that

the Devices were in a defective condition, and were inherently dangerous and unsafe for use.

       103.     Defendants designed, researched, manufactured, tested, advertised, promoted,

marketed, sold and distributed defective products which, when used in their intended or reasonably

foreseeable manner, created an unreasonable risk to the health of consumers and to Plaintiff, in

particular, and Defendants are therefore strictly liable for the injuries sustained by Plaintiff.

       104.     As a direct and proximate result of Plaintiff Loerene Nelson’s use of Defendants’

DreamStation CPAP devices, as manufactured, designed, sold, supplied, marketed and introduced

into the stream of commerce by Defendants and/or their failure to comply with federal



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requirements, Plaintiff Loerene Nelson has suffered serious physical injury, harm, damages and

economic loss and will continue to suffer such harm, damages and economic loss in the future,

and is entitled to compensatory damages in an amount to be determined by the trier of fact.


         WHEREFORE, Plaintiff demands judgment against Defendants for compensatory and

punitive damages, together with interest, costs of suit, attorneys’ fees and all such other relief as

the Court deems proper.



                                         COUNT II
                               STRICT PRODUCTS LIABILITY
                                   FAILURE TO WARN
                                   N.C. Gen. Stat. § 99B-5

         105.   Plaintiff incorporates by reference, as if fully set forth herein, each and every

allegation set forth in the preceding paragraphs and further alleges as follows:

         106.   At all times relevant herein, Defendants were engaged in the design, development,

testing, manufacturing, marketing and sale of the Philips DreamStation CPAP device.

         107.   Defendants designed, manufactured, assembled and sold the Philips CPAP device

to medical distributors and patients knowing that they would then be used by patients to treat sleep

apnea.

         108.   The Devices placed into the stream of commerce by Defendants were defective due

to inadequate warnings, because Defendants knew or should have known that the Device could

release toxic and/or carcinogenic particles in patients when used and therefore gives rise to serious

physical injury, pain and suffering, debilitation, and death, but failed to give consumers adequate

warning of such risks.

         109.   Defendants had a duty to warn their sales representatives/distributors, prescribing

sleep doctors, and patients such as Plaintiff Loerene Nelson, and Defendants breached their duty

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in that they failed to provide adequate and timely warnings or instructions regarding their Philips

DreamStation CPAP device, and its known defects and potential risks, including its propensity to

release toxic and/or carcinogenic particles when used normally.

       110.    Adequate efforts to communicate an adequate warning to the ultimate users were

not made by Defendants (or Defendants’ sales representatives/distributors).

       111.    Defendants are strictly liable to Plaintiff because the warnings to Plaintiff Loerene

Nelson, her medical equipment supplier and her prescribing physician about the dangers the

Philips DreamStation CPAP device posed to consumers when used were inadequate. Examples of

the lack and/or inadequacy of Defendants’ warnings include, but are not limited to, one or more of

the following particulars:


               (a)     the Devices contained warnings insufficient to alert Plaintiff Loerene

                       Nelson, the medical equipment supplier and Plaintiff’s physicians as to the

                       risk of adverse events, i.e., respiratory issues, development of disease like

                       cancer, and even death, associated with use of the Philips DreamStation

                       CPAP device, subjecting the Plaintiff to risks which exceeded the benefits

                       of the Devices;

               (b)     the Devices contained warnings insufficient to alert Plaintiff Loerene

                       Nelson and her physicians as to the release of toxic and carcinogenic

                       particles when used normally;

               (c)     the Devices contained misleading warnings emphasizing the efficacy of the

                       Device while downplaying the risks associated with its use, thereby making

                       use more dangerous than the ordinary consumer would expect;




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                (d)    the Devices contained insufficient and/or incorrect warnings to alert

                       consumers, including Plaintiff Loerene Nelson, the medical supplier, and

                       the prescribing physicians, regarding the risk, scope, propensity, frequency,

                       duration and severity of the adverse events associated with use of Device;

                (e)    the Devices did not disclose that they were inadequately tested;

                (f)    the Devices failed to convey adequate post-marketing warnings regarding

                       the risk, severity, propensity, frequency, scope and/or duration of the

                       dangers posed by normal use of the Devices to treat sleep apnea;

                (g)    the Devices failed to contain instructions sufficient to alert consumers to the

                       dangers they posed and to give them the information necessary to avoid or

                       mitigate those dangers.

         112.   Further, Philips DreamStation CPAP device is unreasonably dangerous because it

was sold to Plaintiff without an adequate warning that when used normally, the PE-PUR sound

abatement foam will release toxic and carcinogenic particles that can lead to serious injury or

death.

         113.   There are other manufacturers of sleep apnea machines on the market that do not

contain this foam design defect and Plaintiff could have chosen to acquire a different model and

brand had this defect been disclosed.

         114.   The Devices placed into the stream of commerce by Defendants were used by

patients like Plaintiff in a manner reasonably anticipated by Defendants.

         115.   As a direct and proximate result of Defendants’ failure to adequately communicate

a warning and/or failure to provide an adequate warning and other wrongful conduct as set forth

herein, Plaintiff Loerene Nelson has suffered serious physical injury, harm, damages and economic



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loss and will continue to suffer such harm, damages and economic loss in the future, and is entitled

to compensatory damages in an amount to be determined by the trier of fact.


          WHEREFORE, Plaintiff demands judgment against Defendants for compensatory and

punitive damages, together with interest, costs of suit, attorneys’ fees and all such other relief as

the Court deems proper.

                                    COUNT III
                           STRICT PRODUCTS LIABILITY
                           MANUFACTURING DEFECT AND
                     FAILURE TO ADHERE TO QUALITY CONTROLS

          116.   Plaintiff incorporates by reference, as if fully set forth herein, each and every

allegation set forth in the preceding paragraphs and further allege as follows:

          117.   The recalled devices, including Plaintiff’s Device, are defectively manufactured

because the foreseeable risks of cancer and other serious injury and illness outweigh the benefits

associated with the Devices.

          118.   The Philips DreamStation CPAP Device was designed and/or manufactured in a

manner violative of the Federal Food, Drug and Cosmetic Act, 21 U.S.C. § 321 et seq., and the

Medical Devices Amendment thereto (hereafter “FDCA”). The facilities or controls used by

defendants in the manufacture, testing, packing, storage, or installation of the Devices were not in

conformity with applicable requirements of the FDCA.

          119.   The Philips DreamStation CPAP device was expected to and did reach the Plaintiff

without substantial change or adjustment to its function.

          120.   Defendants knew or should have known of the manufacturing defects and the risk

of serious bodily injury that exceeded the benefits associated with the Philips DreamStation CPAP

device.



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        121.    Furthermore, the Philips DreamStation CPAP Device and its defects presented an

unreasonably dangerous risk beyond what the ordinary consumer would reasonably expect.

        122.    The Philips DreamStation CPAP Device is inherently dangerous for its intended

use due to a manufacturing defect or defects and improper functioning. Defendants are therefore

strictly liable to the Plaintiff for their breach of duty to the Plaintiff.

        123.    As a direct and proximate result of Defendants’ wrongful conduct, the Plaintiff has

sustained and will continue to sustain severe physical injuries, and the Plaintiff has suffered and

will continue to suffer severe emotional distress, mental anguish, and other damages for which she

is entitled to compensatory damages in an amount to be proven at trial.


        WHEREFORE, Plaintiff demands judgment against Defendants for compensatory and

punitive damages, together with interest, costs of suit, attorneys’ fees and all such other relief as

the Court deems proper.

                                             COUNT IV
                                            NEGLIGENCE

        124.    Plaintiff incorporates by reference, as if fully set forth herein, each and every

allegation set forth in the preceding paragraphs and further allege as follows:

        125.    While the focus of Plaintiff’s strict liability claims (Claims I-III) is on the condition

of the product, the focus of Plaintiff’s negligence claim is instead on Defendants’ conduct.

Defendants had a duty to exercise reasonable care in the design, formulation, manufacture, testing,

quality assurance, quality control, labeling, warning, sale and/or distribution of the Philips

DreamStation CPAP device, including a duty to assure that their products did not pose a

significantly increased risk of life-threatening bodily harm and disease.

        126.    Defendants failed to exercise reasonable care in the design, formulation,

manufacture, sale, testing, quality assurance, quality control, labeling, warning, marketing,

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promotions and distribution of the Philips DreamStation CPAP device in that Defendants knew or

should have known that these products caused significant bodily harm and were not safe for use

by consumers.

       127.     The negligence of Defendants, their agents, servants, and/or employees, included

but was not limited to the following acts and/or omissions:

                (a)    Negligently designing the recalled devices’ PE-PUR sound abatement foam

                       such that it has a high propensity to release toxic and carcinogenic particles

                       during normal use of the device;

                (b)    Negligently designing the recalled devices such that the sound abatement

                       foam is placed in the airpath of the devices, where the foam’s propensity to

                       release toxic and carcinogenic particles is most deleterious to a patient’s

                       health because they will directly inhale such toxins and carcinogens;

                (c)    Negligently designing the recalled products such that they contain built-in

                       settings for use that allow a user to increase the heat and humidity of the air

                       being convected through the devices’ airpaths, despite Defendants knowing

                       that heat and humidity can exacerbate the release of the toxic and

                       carcinogenic particles from the PE-PUR sound abatement foam;

                (d)    Designing, manufacturing, producing, creating, and/or promoting the

                       devices for use in treating sleep apnea without adequately, sufficiently, or

                       thoroughly testing them, including both pre-market testing and post-market

                       surveillance;

                (e)    Not conducting sufficient testing programs to determine whether or not the

                       PE-PUR sound abatement foam was safe for use in the devices;



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    (f)   Selling the devices without making proper and sufficient tests to determine

          the dangers when used in a reasonably foreseeable and normal manner;

    (g)   Negligently failing to adequately and correctly warn Plaintiff or Plaintiff’s

          physicians, hospitals, healthcare providers, and medical device distributors

          of the dangers of using the recalled devices, including:

          1) Negligently failing to warn of an increased risk of release of toxic and

             carcinogenic particles;

          2) Negligently failing to warn of the risk of development of serious disease

             such as cancer or even death;

          3) Negligently failing to recall their dangerous and defective CPAP

             devices at the earliest date it became known that the devices were, in

             fact, dangerous and defective;

          4) Negligently advertising and recommending the use of the devices

             despite the fact Defendants knew or should have known of their

             dangerous propensities;

          5) Negligently representing that the devices were safe for their intended

             use, when in fact, they were unsafe;

          6) Negligently manufacturing the devices in a manner which was

             dangerous to those individuals who used them;

    (h)   Defendants under-reported, underestimated, and downplayed the serious

          dangers associated with the PE-PUR sound abatement foam used in all of

          the recalled devices;




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               (i)     Defendants failed to use due care in designing and manufacturing the

                       devices so as to ensure good performance and durability and reduce the risk

                       of degradation and off-gassing of toxic and carcinogenic particles that could

                       be directly inhaled by the user;

               (j)     Failed to accompany their products with proper warnings;

               (k)     Failed to accompany their products with proper instructions for use;

               (l)     Failed to conduct adequate testing, including pre-clinical and clinical testing

                       and post-marketing surveillance to determine the safety of the recalled

                       devices when used normally;

               (m)     Were otherwise careless and/or negligent.

       128.    Despite the fact that Defendants knew or should have known that use of the Philips

DreamStation CPAP device caused harm to individuals that used the devices, Defendants

continued to market, manufacture, distribute and/or sell the Philips DreamStation CPAP device

for use in treating sleep apnea.

       129.    Defendants knew or should have known that consumers such as Plaintiff would

suffer foreseeable injury, and/or be at increased risk of suffering injury as a result of Defendants’

failure to exercise ordinary care, as set forth above.

       130.    Defendants, furthermore, in advertising, marketing, promoting, packaging and

selling the Devices negligently misrepresented material facts regarding their safety, efficacy and

fitness for human use by claiming the Devices were fit for their intended purpose of use when, in

fact, they were not.




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        131.     Defendants’ negligence was the proximate cause of Plaintiff’s physical, mental and

emotional injuries and harm, and economic loss which Plaintiff has suffered and/or will continue

to suffer.

        132.     By reason of the foregoing, Plaintiff experienced and will continue to experience

severe harmful effects as a result of the Defendants’ negligence as set forth above.

        133.     Defendants’ conduct, as described above, including, but not limited to, Defendants’

failure to adequately test and warn, as well as their continued marketing and distribution of the

Philips DreamStation CPAP device devices when they knew or should have known of the serious

health risks these devices created when used normally by patients such as Plaintiff.

        134.     As a direct and proximate result of Defendants’ negligence, including negligent

testing, failure to warn and misrepresentations, Plaintiff Loerene Nelson suffered serious physical

injury, harm, damages and economic loss and will continue to suffer such harm and damages for

which she is entitled to compensatory damages in an amount to be proven at trial.


        WHEREFORE, Plaintiff demands judgment against Defendants for compensatory and

punitive damages, together with interest, costs of suit, attorneys’ fees and all such other relief as

the Court deems proper.

                                       COUNT V
                             NEGLIGENT MISREPRESENTATION

        135.     Plaintiff incorporates by reference, as if fully set forth herein, each and every

allegation set forth in the preceding paragraphs and further allege as follows:

        136.     Defendants supplied false information to the public, to Plaintiff and to Plaintiff’s

physicians regarding the high-quality, safety and effectiveness of the Philips DreamStation CPAP

device. Defendants provided this false information to induce the public, Plaintiff and Plaintiff’s

physicians to purchase and use the Philips DreamStation CPAP device.

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          137.   Defendants knew or should have known that the information they supplied

regarding the purported high-quality, safety and effectiveness of the Devices would induce

Plaintiff and Plaintiff’s physicians to purchase and use the Philips DreamStation CPAP device was

false and misleading.

          138.   Defendants were negligent in obtaining or communicating false information

regarding the purported high-quality, safety and effectiveness of the Philips DreamStation CPAP

device.

          139.   Plaintiff and Plaintiff’s physicians relied on the false information supplied by

Defendants to Plaintiff’s detriment by causing the Philips DreamStation CPAP device to be

purchased and used by Plaintiff.

          140.   Plaintiff and Plaintiff’s physicians were justified in their reliance on the false

information supplied by Defendants regarding the purported high-quality, safety and effectiveness

of the Philips DreamStation CPAP device.

          141.   As a direct and proximate result of Defendants’ negligent misrepresentations,

Plaintiff experienced and/or will experience significant damages, including but not limited to

permanent physical injury, economic loss, and pain and suffering caused by the Philips

DreamStation CPAP device.


          WHEREFORE, Plaintiff demands judgment against Defendants for compensatory and

punitive damages, together with interest, costs of suit, attorneys’ fees and all such other relief as

the Court deems proper.

                                         COUNT VI
                             BREACH OF EXPRESS WARRANTY
                               (13 Pa. Const. Stat. Ann. § 2313)
                                 (N.C. Gen. Stat. § 25-2-313)



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       142.    Plaintiff incorporates by reference, as if fully set forth herein, each and every

allegation set forth in the preceding paragraphs and further allege as follows:

       143.    Defendants expressly warranted that the Philips DreamStation CPAP device was a

safe and effective medical device to be used for patients suffering from sleep apnea.

       144.    At the time Defendants marketed, sold and/or distributed the Philips DreamStation

CPAP device, they knew that the Devices were intended for human use, and that Plaintiff Loerene

Nelson was a foreseeable user of the Devices.

       145.    The express warranties represented by Defendants were a part of the basis for

Plaintiff’s use of the Device, and she and her physician relied on these warranties in deciding to

use the Device.

       146.    At the time of the making of the express warranties, Defendants had knowledge of

the purpose for which the Devices were to be used, and warrantied the same to be in all respects

safe, effective and proper for such purpose.

       147.    The Devices do not conform to these express representations as shown by the

development of lung cancer in Plaintiff Loerene Nelson.

       148.    At the time Defendants marketed, sold and/or distributed the recalled devices,

Defendants expressly warranted that the recalled devices were safe for their intended use.

       149.    Plaintiff Loerene Nelson and her prescribing physician reasonably relied upon

Defendants’ express warranties.

       150.    Plaintiff Loerene Nelson used the Device for its intended purpose, and in a

reasonably foreseeable manner.




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       151.    The Philips DreamStation CPAP device manufactured and sold by Defendants did

not conform to Defendants’ express representations because the Device caused serious injury to

Plaintiff Loerene Nelson when used as recommended and directed.

       152.    As a direct and proximate result of Defendants’ breach of express warranty,

Plaintiff Loerene Nelson has suffered serious physical injury, harm, damages and economic loss

and will continue to suffer such harm, damages and economic loss in the future and is entitled to

compensatory damages in an amount to be proven at trial.


       WHEREFORE, Plaintiff demands judgment against Defendants for compensatory and

punitive damages, together with interest, costs of suit, attorneys’ fees and all such other relief as

the Court deems proper.

                                 COUNT VII
                    BREACH OF IMPLIED WARRANTIES OF
              MERCHANTABILITY AND FOR A PARTICULAR PURPOSE
                        (13 Pa. Cons. Stat. Ann. § 2314)
                          (N.C. Gen. Stat. § 25-2-314)

       153.    Plaintiff incorporates by reference, as if fully set forth herein, each and every

allegation set forth in the preceding paragraphs and further allege as follows:

       154.    At the time Defendants designed, manufactured, marketed, sold and distributed the

Philips DreamStation CPAP device for use by Plaintiff Loerene Nelson, Defendants knew of the

use for which these devices were intended and impliedly warranted these products to be of

merchantable quality and safe for such use and that their design, manufacture, labeling and

marketing complied with all applicable federal requirements.

       155.    The Philips DreamStation CPAP device manufactured and supplied by Defendants

were not of merchantable quality and were not fit for the ordinary and/or particular purpose for

which they were intended as, among other defects, the risks included an unreasonably high risk of


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developing cancer or other serious illness due to the release of toxic and carcinogenic particles

from the device’s PE-PUR sound abatement foam.

       156.     Plaintiff Loerene Nelson and/or her physician reasonably relied upon the skill and

judgment of Defendants as to whether the Philips DreamStation CPAP device were of

merchantable quality and safe for their intended and particular use and purpose, and upon

Defendants’ implied warranty as to such matters.

       157.     Contrary to such implied warranties, the Philips DreamStation CPAP device was

not of merchantable quality or safe for its intended and particular use and purpose, because the

product was defective when used normally as described above, and/or failed to comply with federal

requirements.

       158.     As a direct and proximate result of Defendants’ breach of implied warranties,

Plaintiff Loerene Nelson has suffered serious physical injury, harm, damages and economic loss

and will continue to suffer such harm, damages and economic loss in the future and is entitled to

compensatory damages in an amount to be proven at trial.


       WHEREFORE, Plaintiff demands judgment against Defendants for compensatory and

punitive damages, together with interest, costs of suit, attorneys’ fees and all such other relief as

the Court deems proper.

                                   COUNT VIII
                BREACH OF IMPLIED WARRANTY OF FITNESS FOR A
                            PARTICULAR PURPOSE
                          (13 Pa. Cons. Stat. Ann. § 2315)
                            (N.C. Gen. Stat. § 25-2-315)

       159.     Plaintiff incorporates by reference, as if fully set forth herein, each and every

allegation set forth in the preceding paragraphs and further alleges as follows:




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       160.     Defendants designed, manufactured, tested, marketed and distributed into the

stream of commerce the Philips DreamStation CPAP device.

       161.     At the time Defendants designed, manufactured, tested, marketed and distributed

into the stream of commerce the Philips DreamStation CPAP device, Defendants knew the use for

which the Philips DreamStation CPAP device was intended, and impliedly warranted the Philips

DreamStation CPAP device to be safe for such use.

       162.     Plaintiff Loerene Nelson and/or her physician reasonably relied upon the skill and

judgment of Defendants as to whether the Philips DreamStation CPAP device were safe for its

intended use.

       163.     Contrary to Defendants’ implied warranties, the Philips DreamStation CPAP

device was not fit for its intended and particular use and purpose, because the device was defective

when used as described above, and/or failed to comply with federal requirements.

       164.     As a direct and proximate result of Defendants’ breach of implied warranties,

Plaintiff Loerene Nelson has suffered serious physical injury, harm, damages and economic loss

and will continue to suffer such harm, damages and economic loss in the future and is entitled to

compensatory damages in an amount to be proven at trial.


       WHEREFORE, Plaintiff demands judgment against Defendants for compensatory and

punitive damages, together with interest, costs of suit, attorneys’ fees and all such other relief as

the Court deems proper.

                                    COUNT IX
      VIOLATION OF THE PENNSYLVANIA UNFAIR TRADE PRACTICES AND
  CONSUMER PROTECTION LAW AND THE NORTH CAROLINA UNFAIR AND
                 DECEPTIVE TRADE PRACTICES ACT
                  (73 Pa. Cons. Stat. Ann. §§ 201-1, et seq.)
                        (N.C. Gen. Stat. § 75, et seq.)



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       165.    Plaintiff incorporates by reference, as if fully set forth herein, each and every

allegation set forth in the preceding paragraphs and further alleges as follows:

       166.    Defendants unfairly, unconscionably, and deceptively advertised, marketed, sold,

and represented the Philips DreamStation CPAP device as a high-quality, safe and effective

medical device for treatment of sleep apnea to Plaintiff and Plaintiff’s physicians.

       167.    Before they advertised, marketed, sold and represented the Philips DreamStation

CPAP device that were used by Plaintiff, Defendants knew or should have known of the

unreasonable dangers and serious health risks that such a device posed to patients like Plaintiff.

       168.    Plaintiff purchased and used the Philips DreamStation CPAP device for personal

use and thereby suffered ascertainable losses as a result of Defendants’ actions in violation of the

consumer protection laws.

       169.    Had Defendants not engaged in the deceptive conduct described herein, Plaintiff

would not have purchased and/or paid for the Philips DreamStation CPAP device, and would not

have incurred related medical costs and injury.

       170.    Defendants engaged in wrongful conduct while at the same time obtaining, under

false pretenses, moneys from Plaintiff for the Philips DreamStation CPAP device that would not

have been paid had Defendants not engaged in unfair and deceptive conduct.

       171.    Unfair methods of competition or deceptive acts or practices that are proscribed by

law, include the following:

               (a)     Representing that goods or services have characteristics, ingredients, uses,

                       benefits or quantities that they do not have;

               (b)     Advertising goods or services with the intent not to sell them as advertised;

                       and



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                 (c)    Engaging in fraudulent or deceptive conduct that creates a likelihood of

                        confusion or misunderstanding.

          172.   Plaintiff was injured by the cumulative and indivisible nature of Defendants’

conduct. The cumulative effect of Defendants’ conduct directed at patients, physicians and

consumers was to create demand for and sell the Philips DreamStation CPAP device. Each aspect

of Defendants’ conduct combined to artificially create sales of the Philips DreamStation CPAP

device.

          173.   Defendants have a statutory duty to refrain from unfair or deceptive acts or trade

practices in the design, development, manufacture, promotion and sale of the Philips DreamStation

CPAP device.

          174.   Had Defendants not engaged in the deceptive conduct described above, Plaintiff

would not have purchased and/or paid for the Philips DreamStation CPAP device, and would not

have incurred related medical costs.

          175.   Defendants’ deceptive, unconscionable, or fraudulent representations and material

omissions to patients, physicians and consumers, including Plaintiff, constituted unfair and

deceptive acts and trade practices in violation of the state consumer protection statutes listed.

          176.   Defendants’ actions, as complained of herein, constitute unfair competition or

unfair, unconscionable, deceptive or fraudulent acts, or trade practices in violation of state

consumer protection statutes, as listed below.

          177.   Defendants have engaged in unfair competition or unfair or deceptive acts or trade

practices or have made false representations in violation of the Pennsylvania Unfair Trade

Practices and Consumer Protection Law, (73 Pa. Cons. Stat. Ann. §§ 201-1, et seq.), and the North

Carolina Unfair and Deceptive Trade Practices Act, (N.C. Gen. Stat. § 75, et seq.).



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       178.      Under the statutes listed above to protect consumers against unfair, deceptive,

fraudulent and unconscionable trade and business practices and false advertising, Defendants are

the suppliers, manufacturers, advertisers, and sellers, who are subject to liability under such

legislation for unfair, deceptive, fraudulent and unconscionable consumer sales practices.

       179.      Defendants violated the statutes that were enacted to protect consumers against

unfair, deceptive, fraudulent and unconscionable trade and business practices and false advertising,

by knowingly and falsely representing that the Philips DreamStation CPAP device were fit to be

used for the purpose for which they were intended, when in fact these devices were defective and

dangerous, and by other acts alleged herein. These representations were made in uniform

promotional materials.

       180.      The actions and omissions of Defendants alleged herein are uncured or incurable

deceptive acts under the statutes enacted to protect consumers against unfair, deceptive, fraudulent

and unconscionable trade and business practices and false advertising.

       181.      Defendants had actual knowledge of the defective and dangerous condition of the

Philips DreamStation CPAP device and failed to take any action to cure such defective and

dangerous conditions.

       182.      Plaintiff and the medical community relied upon Defendants’ misrepresentations

and omissions in determining which CPAP / sleep apnea treatment device to use and recommend.

       183.      Defendants’ deceptive, unconscionable or fraudulent representations and material

omissions to patients, physicians and consumers, constituted unfair and deceptive acts and

practices.

       184.      By reason of the unlawful acts engaged in by Defendants, and as a direct and

proximate result thereof, Plaintiff has suffered ascertainable losses and damages.



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          185.   As a direct and proximate result of Defendants’ violations of Pennsylvania and

North Carolina’s consumer protection laws, Plaintiff has sustained economic losses and other

damages and is entitled to statutory and compensatory, damages in an amount to be proven at trial.

          186.   As specifically described in detail above, Defendants knew that the Philips

DreamStation CPAP device subjected patients to the release of toxic and carcinogenic particles

leading to serious illness, injury, and even death.

          187.   As a direct and proximately result of Defendants’ representations, Plaintiff has

experienced and/or will experience significant damages, including but not limited to permanent

physical injury, economic loss, pain and suffering and the need for continued medical treatment

and observation to monitor the physical damage to Plaintiff caused by the Philips DreamStation

CPAP device. Under North Carolina law, Plaintiff is entitled to treble damages.


          WHEREFORE, Plaintiff demands judgment against Defendants for compensatory and

punitive damages, together with interest, costs of suit, attorneys’ fees and all such other relief as

the Court deems proper.

                                            COUNT X
                                       PUNITIVE DAMAGES

          188.   Plaintiff incorporates by reference, as if fully set forth herein, each and every

allegation set forth in the preceding paragraphs and further alleges as follows:

          189.   Defendants risked the safety of recipients of their products, including Plaintiff, with

knowledge of the safety and efficacy problems and suppressed this knowledge from the general

public.

          190.   Defendants made conscious decisions not to redesign, re-label, warn or inform the

unsuspecting recipients of its recalled devices despite knowledge that these devices were defective

and unreasonably dangerous in nature.

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        191.    Defendants knew or ought to have known that this conduct would result in injury

or damage, but continued to mislead both the medical community and the public at large, including

Plaintiff, by making false representations about the safety and efficacy of the recalled devices.

        192.    These acts are wanton and reckless in that the Defendants demonstrated conscious

indifference and utter disregard of the consequences of their actions upon the health, safety and

rights of others, including Plaintiff.

        193.    Additionally, Defendants delayed the recall of the defective devices while seeking

clearance for the next-generation DreamStation 2 device, which is significantly more expensive

than the recalled first-generation devices, and did not disclose to the public any of the risks

described herein until after the DreamStation 2 had been made commercially available. Thus,

Defendants allowed patients like Plaintiff to continue to be exposed to toxic and carcinogenic

particles for a significantly longer period of time while Defendants were attempting to monetize

this public health crisis of their own creation.

        194.    As a direct and proximate result of Defendants’ conscious and deliberate disregard

for the rights and safety of consumers such as Plaintiff, Plaintiff suffered severe and permanent

physical injuries as set forth above. Defendants’ outrageous conduct warrants an award of punitive

damages.


        WHEREFORE, Plaintiff demands judgment against defendants for compensatory, treble,

and punitive damages, together with interest, costs of suit, attorneys’ fees, and all such other relief

as the Court deems proper.




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                                      PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays for the following relief:

      1. Judgment in favor of Plaintiff and against all Defendants, for damages in such amounts
         as may be proven at trial;

      2. Compensation for both economic and non-economic losses, including but not limited
         to medical expenses, disfigurement, pain and suffering, mental anguish, and emotional
         distress, in such amounts as may be proven at trial;

      3. Punitive and/or exemplary damages in such amounts as may be proven at trial;

      4. Attorneys’ fees and costs;

      5. Interest; and

      6. Any and all further relief, both legal and equitable, that the Court may deem just and
         proper.


Dated: September 15, 2021

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                                 JURY TRIAL DEMANDED

      Plaintiff demands a trial by jury.



Dated: September 15, 2021
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